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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

    LORI SHAMBLIN,

                 Plaintiff,
    v.                                    Case No.      8:13-cv-2428-T-33TBM

    OBAMA FOR AMERICA, ET AL.,

              Defendants.
    ______________________________/

                                      ORDER

          This cause comes before the Court pursuant to Defendants

    Obama for America and DNC Services Corp.'s Combined Motion for

    Entry of Judgment for Injunctive Relief and to Dismiss for

    Lack of Subject Matter Jurisdiction (Doc. # 232), filed on

    October 9, 2015. On October 15, 2015, Plaintiff Lori Shamblin

    filed a Response in Opposition to the Motion (Doc. # 234) and,

    with leave of the Court, Obama for America and DNC Services

    filed a Reply. (Doc. # 237). For the reasons that follow, the

    Court grants the Motion to the extent it grants injunctive

    relief and, thereafter, closes the case.

    Discussion

          After multiple rounds of motions for class certification

    and   motions    to    dismiss,      as   well   as    summary     judgment

    proceedings, this Telephone Consumer Protection Act case is

    set   for   a   one-day   bench      trial   this     month.     In   these

    proceedings,     the   Court   has    carefully       considered   whether
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    Shamblin should be authorized to prosecute this case on a

    class wide basis and, after holding a hearing, the Court

    denied Shamblin's request for class certification on April 27,

    2015. (Doc. # 214).      Thereafter, New Partners, one of three

    named Defendants, entered into a settlement agreement with

    Shamblin offering full monetary relief. (Doc. # 232-1)

          Thereafter, the remaining two Defendants, Obama for

    America and DNC Services, sought to settle with Shamblin by

    agreeing to the entry of the following injunction:

          Obama for America and DNC Services Corp. are hereby
          enjoined from violating the TCPA in the future by
          placing auto-dialed or pre-recorded calls or text
          messages to the identified SHAMBLIN's cellular
          telephone number or to any other phone number used
          by and identified by SHAMBLIN in writing to
          Defendants.

    (Doc. # 234 at 9).

          At this juncture, Defendants seek entry of the above

    injunction and, thereafter, dismissal of the case. Defendants

    argue that, because Shamblin has been offered full relief, the

    matter is moot and the Court accordingly lacks subject matter

    jurisdiction.    (Doc.   #   232).     Defendants    indicate    that

    "Plaintiff's continued prosecution of this action represents

    an impermissible attempt to continue to prosecute an[] action

    where there is no actual controversy." (Id. at 4).

          To her credit, Shamblin appears to concede that she has

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    been fully compensated, monetarily, and is not entitled to any

    damages from the remaining Defendants, as New Partners paid

    the   full   amount   of   statutory   damages   and   taxable   costs

    available for the alleged violations of the TCPA.1         Shamblin,

    however, contends that her claims have not been satisfied

    because she is entitled to a broader injunction than that

    which was offered by Obama for America and DNC Services.           To

    that end, Shamblin seeks an injunction barring the remaining

    Defendants from any future violations of the TCPA, as follows:

          Obama for America and DNC Services Corp., and their
          respective officers, directors, employees, and
          agents, are hereby permanently enjoined from
          violating the TCPA by sending or transmitting auto-
          dialed or pre-recorded calls to cell phones without
          prior express consent.

    (Doc. # 234 at 9).

          Importantly, Shamblin argues that "[w]hatever the proper

    scope of a statutory injunction, judgment reciting the terms

    of a Court-Ordered injunction should enter, not a judgment of

    dismissal for lack of subject matter jurisdiction." (Doc. #

    234 at 3).

          Thus, the Court is called upon to determine whether

    Shamblin is entitled to a narrow injunction prohibiting the


          1
           The Supreme Court has instructed that "the courts can
    and should preclude double recovery by an individual." Gen.
    Tel. Co. v. EEOC, 446 U.S. 318, 333 (1980).

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    remaining Defendants from placing certain calls to Shamblin,

    or to a sweeping injunction barring the remaining Defendants

    from any and all future conduct that may violate the TCPA. In

    answering this question, the Court is mindful that "injunctive

    relief should be no more burdensome to the defendant than

    necessary to provide complete relief to plaintiff[]." Califano

    v. Yamasaki, 442 U.S. 682, 702 (1979). Furthermore, "The law

    requires that courts closely tailor injunctions to the harm

    that they address." Osmose, Inc. v. Viance, LLC, 612 F.3d

    1298, 1323 (11th Cir. 2010)(quoting ALPO Petfoods, Inc. v.

    Ralston Purina Co., 913 F.2d 958, 972 (D.C. Cir. 1990)).

          Upon   due   consideration,        the   Court    determines   that

    Shamblin is entitled to the narrower injunction offered by

    Obama for America and DNC Services.               As argued by these

    Defendants: "This Court has already determined that this case

    is not appropriate for class certification and is to proceed

    on an individual basis only. Thus, Plaintiff is only entitled

    to individual relief." (Doc. # 237 at 3).              Although Shamblin

    refers to a private attorney general provision of the TCPA,

    the   Court's   detailed    Order       denying   class    certification

    limited the scope of this action to Shamblin's individual

    claims and forestalled her from pursuing class-wide relief.

          In addition, the Court rejects Shamblin’s contention that

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    she is entitled to a broad injunction based on the prayer for

    relief contained in her Second Amended Complaint, which sought

    sweeping injunctive relief. It is true that "Shamblin never

    limited her request for relief to enjoin autodialed calls or

    prerecorded calls to 'Plaintiff's' cellular number." (Doc. #

    234 at 2). However, the Court’s denial of class certification

    limited the scope of this case to Shamblin’s alleged injuries

    and no others.     Thus, even if the operative Complaint seeks

    broad injunctive relief, this Court’s task is to craft an

    injunction narrowly tailored to Shamblin on an individual

    basis.

          The Court finds that Obama for America and DNC Services'

    agreement to be bound by an injunction, as outlined above,

    offers Shamblin full and complete relief with respect to her

    individual TCPA claim--which is the only claim that remains to

    be decided.    The Court accordingly grants Defendants’ Motion

    by entering Defendants’ proposed injunction as the Judgment of

    the Court. Because "you cannot persist in suing after you've

    already won," the Court determines that it is not necessary to

    hold a bench trial in this case. Dean v. Cmty. Dental Servs.,

    Inc., No. 8:12-cv-1507-T-33AEP, 2012 U.S. Dist. LEXIS 133727

    at *3 (M.D. Fla. Sept. 19, 2012).             After entry of the

    injunction, the case shall be closed.

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          Accordingly, it is hereby

          ORDERED, ADJUDGED, and DECREED:

    (1)   Defendants Obama for America and DNC Services Corp.'s

          Combined Motion for Entry of Judgment for Injunctive

          Relief   and   to   Dismiss     for   Lack   of   Subject   Matter

          Jurisdiction (Doc. # 232) is GRANTED to the extent the

          Court grants injunctive relief as outlined herein.

    (2)   It is the Judgment of the Court that Obama for America

          and DNC Services Corp. are hereby enjoined from violating

          the TCPA in the future by placing auto-dialed or pre-

          recorded   calls    or   text     messages   to   the   identified

          SHAMBLIN's cellular telephone number or to any other

          phone number used by and identified by SHAMBLIN in

          writing to Defendants.

    (3)   The Clerk is directed to close the case.

          DONE and ORDERED in Chambers in Tampa, Florida, this 16th

    day of October, 2015.




    Copies:   All Counsel     of Record


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